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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                CASE NO.: 1:23-cv-24903-CMA

   SECURITIES AND EXCHANGE COMMISSION,

                               Plaintiff,

   v.

   RISHI KAPOOR;
   LOCATION VENTURES, LLC;
   URBIN, LLC;
   PATRIOTS UNITED, LLC;
   LOCATION PROPERTIES, LLC;
   LOCATION DEVELOPMENT, LLC;
   LOCATION CAPITAL, LLC;
   LOCATION VENTURES RESOURCES, LLC;
   LOCATION EQUITY HOLDINGS, LLC;
   LOCATION GP SPONSOR, LLC;
   515 VALENCIA SPONSOR, LLC;
   LV MONTANA SPONSOR, LLC;
   URBIN FOUNDERS GROUP, LLC;
   URBIN CG SPONSOR, LLC;
   515 VALENCIA PARTNERS, LLC;
   LV MONTANA PHASE I, LLC;
   STEWART GROVE 1, LLC;
   STEWART GROVE 2, LLC;
   LOCATION ZAMORA PARENT, LLC;
   URBIN CORAL GABLES PARTNERS, LLC;
   URBIN COCONUT GROVE PARTNERS, LLC;
   URBIN MIAMI BEACH PARTNERS, LLC; and
   URBIN MIAMI BEACH II PHASE 1, LLC,

                           Defendants.
   _________________________________________/

              PLAINTIFF’S CERTIFICATE OF INTERESTED PARTIES AND
                      CORPORATE DISCLOSURE STATEMENT

         Pursuant to Federal Rule of Civil Procedure 7.1 and the Court’s Order Requiring

  Scheduling Report and Certificate of Interested Parties (ECF No. 19), Plaintiff Securities and
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  Exchange Commission hereby files its Certificate of Interested Parties and Corporate Disclosure

  Statement.

  I.     List of persons, associated persons, firms, partnerships, or corporations that have a
         financial interest in the outcome of this case, including subsidiaries, conglomerates,
         affiliates, parent corporations, and other identifiable legal entities related to the SEC:

               •   None.



  January 22, 2024                            Respectfully submitted,

                                              By: Russell R. O’Brien
                                                 Russell R. O’Brien
                                                 Trial Counsel
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                                                 Email: obrienru@sec.gov

                                                  ATTORNEYS FOR PLAINTIFF
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                                                  COMMISSION
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